92 F.3d 1183
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Eric M. FREEDLANDER, Defendant-Appellant.
    No. 96-6299.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 25, 1996.Decided:  August 7, 1996.
    
      Eric M. Freedlander, Appellant Pro Se.  David T. Maguire, Assistant United States Attorney, Richmond, VA, for Appellee.
      Before LUTTIG and MOTZ, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his second motion for reconsideration of the denial of his motion filed pursuant to 28 U.S.C. § 2255 (1988), as amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1217, in which he asserted that the trial court erred in not instructing the jury on materiality.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, while we grant Appellant's motion for leave to file an amended informal brief, we affirm on the reasoning of the district court.   United States v. Freedlander, Nos.  CR-91-18;  CA-95-825-R (E.D.Va. Jan. 3, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    